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                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )
                                              )     2:19-cr-466-ACA-JHE-18
YOLANDA MILTON,                               )
                                              )
                                              )

                                     ORDER

      Before the court is Defendant Yolanda Milton’s motion to sever her trial from

her codefendants’ trial.     (Doc. 447).    The magistrate judge entered a report

recommending that the court deny the motion. (Doc. 473). Ms. Milton has filed

objections to that report.    (Doc. 481).    Those objections largely reiterate the

arguments she presented in her motion and briefing (compare id. with Docs. 447,

467), and which the magistrate judge properly addressed in his report and

recommendation.    The few objections that are not reiterations of her earlier

arguments are meritless.

      The court OVERRULES Ms. Milton’s objections, ADOPTS the magistrate

judge’s report, and ACCEPTS the recommendation.            Accordingly, the court

DENIES Ms. Milton’s motion to sever her trial from her codefendants’ trial.
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DONE and ORDERED this December 3, 2021.



                           _________________________________
                           ANNEMARIE CARNEY AXON
                           UNITED STATES DISTRICT JUDGE
